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                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
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 9    MARK WAYNE SWANSON,

10                           Plaintiff,
                                                                CASE NO. C05-199RSL
11                   v.

12    KING COUNTY CORRECTIONAL                                  ORDER
      FACILITY, et al.
13
                             Defendants.
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16           The Court, having reviewed the Plaintiff’s Complaint, the Report and Recommendation
17   of the Honorable Monica J. Benton, United States Magistrate Judge, and the remaining record,
18   finds and Orders as follows:
19           (1)    The Court adopts the Report and Recommendation; Defendants’ Motion for
20                  Summary Judgment is GRANTED;
21           (2)    The matter is DISMISSED with prejudice;
22           (3)    The Clerk is directed to send a copy of this Order to Plaintiff, counsel for
23                  defendants, and the Hon. Monica J. Benton.
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             DATED this 17th day of July, 2006.
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26
                                                   A
27                                                 Robert S. Lasnik
                                                   United States District Judge
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     ORDER
